Case 2:00-cr-20138-SHM         Document 315             Filed 07/05/06        Page 1 of 1   PageID 406




                                          UNITED STAE DISTRICT COURT
                                   Western District of Tennessee

 United States of America                                   ORDER HOLDING PROBATIONER
                                                            FOR REVOCATION HEARING
           v.

 Nicholas D. Willliams                                                 Case Number: 00-30138-004-Ma




        On June 29, 2006, the defendant appeared before me on a charge of violation of the terms

 and conditions of his supervised release in this matter. At this hearing, the defendant WAIVED his

 right to a preliminary hearing. Greg Gilluly, representing the government, and Charles Waldman,

 representing the defendant, were present.

        Accordingly, the defendant is held to a final revocation hearing before the district judge. It

 is presumed that the United States District Court will set this matter for a revocation hearing

 pursuant to Federal Rule of Criminal Procedure 32.1(a)(2), and will see that appropriate notices are

 given. The defendant is remanded to the custody of the United States Marshal.




                                                 S/ James H. Allen
                                                 JAMES H. ALLEN
                                                 United States Magistrate Judge
